Case 2:99-cV-O2001-BBD Document 162 Filed 08/26/05 Pagé 1 of. 7 Page|D 212

 

 

IN THE UNITED sTATEs DISTRICT coURT HlED BY -~ U-G-
WESTERN DlsTRICT oF TENNESSEE
WESTERN DIvrsroN 05 AUG 26 PH h= I2
moves tt GJULD
WEST TENNESSEE CHAPTER oF ) C|£Htt U.& QISTR{.CT OOURT
AssoclA'rED BUILDERS AND ) W/D GF f"r-l "‘WS
CONTRACTORS, INC.; and )
zELLNER coNsTRUCTIoN )
CoMPANY, INC., )
)
Plaimiffs, ) No. 99-2001-0
)
v. )
)
cer 01= MEMPHIS, )
)
Defendant. )
coNsENT DECREE

 

1. INTRODUCTION

l.l This Consent Decree is entered into between Plaintiffs West
Tennessee Chapter of Associated Builders and Contractors, Inc.
(“ABC”) and Zellner Construction Company, Inc. (collectively,
“Plaintiffs”), and Defendant City of Memphis (“Defendant” or
“City”).

1.2 Plaintiffs have brought suit for declaratory and injunctive relief and
damages against the Defendant in the United States District Court
for the Western District of Tennessee, Western Division, Civil
Action No. 99-2001-D (the “Lawsuit), in Which they allege that the
Defendant violated 42 U.S.C. §§ 1981, 1983, and 2000(d), 28 U.S.C.
§§ 2201 and 2202, and the Fourteenth Amendment to the United
States Constitution by enacting a Minority and Women Business
Program under Ordinance No. 43 88.

1.3 Defendant denies and continues to deny any and all liability or
Wrongdoing to the Plaintiffs. By entering into this Consent Decree,
Defendant does not admit any impropriety, Wrongdoing or liability
of any kind Whatsoever, including any as to the claims raised in the

  

This document entered on the dockets 6¥/'
with Hute 58 and .'Q(a; '. ...;F on

Case 2:99-cV-O2001-BBD Document 162 Filed 08/26/05 Page 2 of 7 Page|D 213

Lawsuit, and on the contrary, expressly denies the same. Defendant
has entered into this Consent Decree solely for the purpose of
avoiding the expense, inconvenience, distraction and delay of this
Lawsuit without admitting any wrongdoing or liability Whatsoever.

2. CONDITIONS PRECEDENT 'I`O THIS CONSENT DECREE

This Consent Decree shall be conditioned upon, and shall be effective only
upon, the occurrence of all of the following conditions:

2.l This Consent Decree must be signed by all of the Parties.

2.2 The Court must grant Final Approval of this Consent Decree and
enter Judgment in accordance With the terms set forth herein.

3. TERM OF CONSENT DECREE

The tenn of this Consent Decree shall commence from the date of entry by
the Court and continue for so long as the Court retains jurisdiction over this
matter.

NOW, THEREFORE, for and in consideration of the commitments made
below, the value of Which is deemed sufficient by each of the Parties, the
Parties enter into this Consent Decree and agree as follows:

4. MWBE PROGRAM

4.] The parties agree that under the terms of this Consent decree the
Defendant will not be required to modify, amend or change the
MWBE Program in any manner.

5. ATTORNEYS’ FEES

5.1 Defendant agrees to pay to the Plaintiffs, within sixty (60) days of
the entry of this Consent Decree a sum of three hundred eighty-eight
thousand dollars ($388,000.00) representing a portion of the
attorneys’ fees and costs related to the Lawsuit through the entry of
this Consent Decree. This sum can be paid at the Defendant’s
discretion in two separate equal installments

a

6. MWBE TASK FORCE

6.1 Defendant agrees that it will create a Task Force that will have the duty of

7. STRICT ENFORCEMENT

7.1 Defendant shall strictly enforce all provisions of the MWBE Program,
particularly including but not limited to the graduation provisions

8. DISPUTE RESOLUTION

8.l The Court shall retain jurisdiction for the purpose of resolving any
disputes as to any matter relating to this Consent Decree or the
Defendants MWBE program, including with respect to the
interpretation of any provision of this Consent Decree or With
respect to the performance hereunder.

9. RELEASES

9.1 Plaintiffs agree that they, on behalf of themselves or on behalf of anyone
else, including their respective successors or assigns, Will not bring any
action against Defendant challenging the Defendant’s MWBE Program in
any respect based on any legal theory; or that they, acting for themselves
or through agents, employees, attorneys, both in-side and outside counsel,
successors or assigns, will not assist in any way any other person or entity,
in bringing any action against Defendant challenging the Defendant’s
MWBE Program on any legal theory. Plaintiffs hereby release, acquit and
discharge Defendant from the Released Claims as defined in Paragraph
9.2 below.

9.2 The “Released Claims” are any and all past or present claims, rights,

demands, charges, complaints, actions, causes of action, and liabilities of
any kind, except as Stated in Paragraph 9.3 below, including any and ali

9.3 The “Released Claims” do not include, and Plaintiffs do not release, any

of Defendant enacted after June 30, 2006, or any extension of Defendant’s
current MWBE plan beyond its current sunset date of June 30, 2006.

10. COMMUNICATON TO THE PARTIES

To Plaintiffs:
Stephen L. Shields
JACKSON, SHIELDS &, YEISER
262 German Oak Drive
Memphis, Tennessee 38018

To Defendant
Sara Hall, City Attorney
CITY OF MEMPHIS
125 North Main Street, Room 336
Memphis, Tennessee 38103

With a copy to:
Robert L. J. Spence, Jr.
SPENCE WALK, PLLC
One Coininerce Square, Suite 2200
Mernphis, Tennessee 38103

If any of the above addresses change, it is the responsibility of the Party whose address is
changing to give written notice of said change to all parties within (30) business days
following the effective date of said change.

11. ENTIRE AGREEMENT

parties. No representation, warranty, promise, inducement or agreement (oral or
otherwise) not set forth in this consent decree shall be binding upon the parties.

12. MODIFICATION OR WAIVER OF CONSENT DECREE

No term or provision of this Consent Decree may be modified or extinguished, in
whole or in part, except by a writing which is dated and signed by all Paities. No
waiver of any of the provisions or conditions of this Consent Decree or of any of
the rights, powers or privileges of a party hereto shall be effective or binding
unless in writing and signed by the party claimed to have given or consented to
such waiver.

Case 2:99-cV-O2001-BBD Document 162 Filed 08/26/05 Page 5 of 7 Page|D 216

13. FREE AND VOLUNTARY AC'I`; NO MISTAKE

13.1 The Paities acknowledge that they discussed this Consent Decree with
their respective attorneys in the lawsuit before signing this Consent
decree, that they were represented by their attorneys in the Lawsuit, in the
negotiations and preparation of this Consent Decree, that they have
carefully read and understand each of the terms of this Consent Decree
and that they have knowingly and voluntarily signed this Consent Decree
as their own free act, without coercion or duress.

13.2 The individual signing this Consent Decree on behalf of the Plaintiffs
agrees and acknowledges that he/she has the authority to bind the
Plaintiffs to this Consent Decree.

13.3 Each of the Parties forever waives all rights to assert that this Consent
Decree was the result of a mistake of law or fact.

14. INTERPRETA'I`ION OF AGREEMENT

Each party acknowledges and stipulates that the compromise and settlement
which forms the basis of this Consent Decree have been arrived at after thorough
bargaining and negotiation and represent a final mutually agreeable compromise
of matters provided herein. The Consent Decree shall not be construed more
strictly against one party than another merely by virtue of the fact that it may have
been prepared by counsel for one of the parties, it being recognized that, because
of the arm’s-length negotiations between the parties, all parties hereto have
contributed substantially and materially to the preparation of this Consent Decree.

15. HEADINGS

The headings contained in this Consent Decree are for convenience only, do not
constitute part of the Consent Decree and shall not limit, be used to interpret or
otherwise affect in any way the provisions of the Consent Decree.

16. EXECUTION OF AGREEMENT
This Consent decree may be executed in multiple parts, each of which shall be

deemed and original and all of which together shall constitute one and the same
instrument

Case 2:99-cV-O2001-BBD Document 162 Filed 08/26/05 Page 6 of 7 Page|D 217
IT IS SO ORDERED this g § day of (Z¢ gmi , 2005.

NORABL RNICE B. DONALD
ITED STATES DISTRICT JUDGE

 
 
  

   

APPROVED & AGREED:

 

Stephen L. Shields

JACKSON, SHIELDS & YEISER
262 German Oak Drive

Memphis, Tennessee 38018

(901) 754-8001

Attomey for Plaintiffs West Tennessee
Chapter of Associated Builders and
Contractors, Inc. (“ABC”), and
Zellner Construction Company, Inc.

 

Robeit L. J. Spence, Jr.

SPENCE WALK, PLLC

One Corninerce Square, Suite 2200
Memphis, Tennessee 38103

(901) 312-9160

Attorney for Defendant City of Mernphis

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 162 in
case 2:99-CV-02001 was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

Robert L.J. Spence
SPENCEWALK, PLLC
One Commerce Square
Ste. 2200

l\/lemphis7 TN 38103

Stephen L. Shields

JACKSON SHIELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.

l\/lemphis7 TN 38018

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

l\/lemphis7 TN 38103

Steven W. Dills

JACKSON SHIELDS YEISER HOLT SPEAKMAN & LUCAS
262 German Oak Dr.

l\/lemphis7 TN 38018

Honorable Bernice Donald
US DISTRICT COURT

